 

Case 2:18-cv-13033-MAG-RSW ECF No.1 filed “DET pO/T/ 1 of 12 BA

MIED ProSe 7 (Rev 5/16) Complaint for Employment Discrimination

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

Case.2.18-ev-13033

Judge: Cox, Sean F.
Corey Thomas Ms. Whalen, R. Steven

: M
ied: 09-27-2018 At 02:00 P
CMP THOMAS V. GREAT LAKES WATER AUT

HORITY (NA)

 

(Write the full name of each plaintiff who is filing this

complaint. If the names of all the plaintiffs cannot fit (to be filled in by the Clerk's Office)
in the space above, please write “see attached” in the

space and attach an additional page with the full list .
ofnames) page wi fall ti Jury Trial: [ ] Yes [] No

(check one)

 

v.

Great Lakes Water Authority

(Write the full name of each defendant who is being
sued, if the names of all the defendants cannot fit in
the space above, please write “see attached” in the
space and attach an additional page with the full list
of names.)

 

 

Complaint for Employment Discrimination
Case 2:18-cv-13033-MAG-RSW ECF No.1 filed 09/27/18 PagelD.2 Page 2 of 12

MIED ProSe 7 (Rev 5/16) Complaint for Employment Discrimination

L The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach

additional pages if needed.
Narne
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address

B. The Defendant(s)

Corey Thomas

 

14715 Murthum Ave

 

Warren / Macomb County
Michigan 48088

 

(313) 600-0955

cothomas20@yahoo.com

 

Provide the information below for each defendant named in the complaint, whether the
defendant is an individual, a government agency, an organization, or a corporation.
For an individual defendant, include the person’s job or title (if known). Attach

additional pages if needed.
Defendant No. |

Name

Joo or Title
(if known)

Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address
(if known)

Defendant No. 2

Name

Job or Title
(if known)

Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address
(if known)

Great Lakes Water Authority

 

735 Randolph Street Suite 1900
Detroit / Wayne County
Michigan 48226

(313) 964-9096

Cheryl. Yapo(a@iglwater.org

 

 

 

 

 

 

 
 

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Defendant No. 3

Name

PagelID.3 Page 3 of 12

 

Job or Title

 

(if known)
Street Address

 

City and County

 

State and Zip Code

 

Telephone Number

 

E-mail Address

 

(if known)

Defendant No. 4

Name

 

Job or Title

 

(if known)
Street Address

 

City and County

 

State and Zip Code

 

Telephone Number

 

E-mail Address

 

(if known)

C. Place of Employment

The address at which I sought employment or was employed by the defendant(s) is:

 

 

Name Great Lakes Water Authority
Street Address 735 Randolph
City and County Detroit/ Wayne County

 

State and Zip Code Michigan 48226
Telephone Number (313) 964-9096
 

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II. Basis for Jurisdiction

This action is brought for discrimination in employment pursuant to (check all that apply):

Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to
2000e-17 (race, color, gender, religion, national origin).

(Note: In order to bring suit in federal district court under Title VII, you must
first obtain a Notice of Right to Sue letter from the Equal Employment
Opportunity Commission.)

Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621
to 634.

(Note: In order to bring suit in federal district court under the Age
Discrimination in Employment Act, you must first file a charge with the Equal
Employment Opportunity Commission.)

Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112 to
12117.

(Note: In order to bring suit in federal district court under the Americans with
Disabilities Act, you must first obtain a Notice of Right to Sue letter from the
Equal Employment Opportunity Commission.)

Other federal law (specify the federal law):

Relevant state law (specify, if known):

Relevant city or county law (specify, if known):
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Hil.

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly
as possible the facts showing that each plaintiff is entitled to the damages or other relief sought.
State how each defendant was involved and what each defendant did that caused the plaintiff
harm or violated the plaintiff's rights, including the dates and places of that involvement or
conduct. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A. The discriminatory conduct of which I complain in this action includes (check all that
apply):
C) Failure to hire me.
C] Termination of my employment.
Failure to promote me.
1 Failure to accommodate my disability.
Unequal terms and conditions of my employment.
LJ Retaliation.
Oo Other acts (specify):

(Note: Only those grounds raised in the charge filed with the Equal
Employment Opportunity Commission can be considered by the federal district
court under the federal employment discrimination statutes.)

B. It is my best recollection that the alleged discriminatory acts occurred on date(s)
Some ongoing the entire time employed, but latest problem October/2017

C. I believe that defendant(s) check ane):

O
O

is/are still committing these acts against me.
is/are not still committing these acts against me.

D. Defendant(s) discriminated against me based on my (check all that apply and explain}:

O OOOSOS

race Black

 

color

 

gender/sex Male

 

religion

 

national origin

age. My year of birth is . (Give your year of birth only if
you are asserting a claim of age discrimination.)

 

disability or perceived disability (specify disability)

 
 

 

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MIED ProSe 7 (Rev 5/16) Complaint for Employment Discrimination

E. The facts of my case are as follows. Attach additional pages if needed.

I was the only Black Male (Office Support Specialist) in the Finance Department
and through out Great Lakes Water Authority (GL.WA) and some my duties were
cleaning offices, pulling trash, unloading trucks, moving equipment that weighed
over 150 pounds, retrieving items from (CFO) Nicolette Bateson car a couple of

times etc.

Constant Physical Labor, which caused physical and emotional pain and forced me
to be out on a medical leave for almost 5 months.

i accepted a temporary non professional position with (GLWA) due to me signing
late, ] spoke with at that time the (Controller) Mike Huber and (Manager) Monica
Daniels, they stated that they would adjust my title to a professional title and adjust
my pay by July 2016. Both made the attempt to make these changes in July 2016
but (CFO) Nicolette Bateson ignored and denied the request. Nicolette Bateson was
the person to push Monica Daniels to try and sign me from Detroit Water and
Sewage Department which |! had been employed for 17 years prior to joining
(GLWA)

Nicolette Bateson fired both Mike Huber and Monica Daniels and she told my
current team that we could look for other positions through out the company or stay
in that current title, so [ attempted and tried looking in other areas such as
Procurement or Contracts and Grants area where I had previous experience but
know one would touch me because in the past | wanted to move, I was told by my
former Manager Monica Daniels that Nicolette Bateson spoke to others and was
against me moving. I was blacked balled and no one wanted to hire me other
departments. Later after Nicolette force me to train other co workers with Manager
Professional titles on how to do my job and turnover all my documents my duties
were taking away from me Nicolette suggested I go and work for the (Information
Technology) Department and this work was 95% physical labor.

1 worked in the Finance Department in (Capital Improvement Program) and
everyone in this area had a professional titles and made a least $15 thousand more
than me and we all did very similar work. I was the only one in this area that had a
non professional title and the least paid, and there we many perks that came with
the professional title that | wasn't privy to.

(Note: As additional support for the facts of your claim, you may attach to this
complaint a copy of your charge filed with the Equal Employment Opportunity
Commission, or the charge filed with the relevant state or city human rights division.)
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IV.

Exhaustion of Federal Administrative Remedies

A. It is my best recollection that | filed a charge with the Equal Employment Opportunity
Commission or my Equal Employment Opportunity counselor regarding the
defendant’s alleged discriminatory conduct on (date)

November 30, 2017

 

B. The Equal Employment Opportunity Commission (check one):

C] has not issued a Notice of Right to Sue letter.
issued a Notice of Right to Sue letter, which I received on (date)

July 3, 2018 .
(Note: Attach a copy of the Notice of Right to Sue letter from the Equal

Employment Opportunity Commission to this complaint.)

C. Only litigants alleging age discrimination must answer this question.

Since filing my charge of age discrimination with the Equal Employment Opportunity
Commission regarding the defendant’s alleged discriminatory conduct (check one):

60 days or more have elapsed.
LC) less than 60 days have elapsed.

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do
not make legal arguments. Include any basis for claiming that the wrongs alleged are
continuing at the present time. Include the amounts of any actual damages claimed for the acts
alleged and the basis for these amounts. Include any punitive or exemplary damages claimed,
the amounts, and the reasons you claim you are entitled to actual or punitive money damages.
Attach additional pages if needed.

Forced to work in a non professional title with a low salary, while my co workers have
professional titles and making at least $15 thousand more per year during similar work. | held a
professional title for Detroit Water and Sewage Department for 17 years prior to transferring
over to (GLWA).

Slander and or blackballed by CFO Nicolette Bateson on hindering me on moving to other better
job opportunities.

Physical & Emotional pain due to the physical labor as the only black male in the (Office
Support Specialist) title.

Damages $500,000.00
 

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MIED ProSe 7 (Rev 3/16} Complaint for Employment Discrimination

VIL

Certification and Closing

Under Federal Rule of Civil Procedure 11. by signing below, | certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of
litigation; (2) is supported by existing law or by a nonfrivolous argument for extending.
modifying, or reversing existing law; (3) the factual contentions have evidentiary support or. if
specifically so identified, will likely have evidentiary support after a reasonable opportunity for
further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

| agree to provide the Clerk’s Office with any changes to my address where case-
related papers may be served. | understand that my failure to keep a current address on
file with the Clerk’s Office may result in the dismissal of my case.

Date of signing: September 27 , 2018

Signature of Plaintiff C Thin Nome.)

Printed Name of Plaintiff Corey Thomas

 
 

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MIED ProSc 7 (Rev 5/16) Complaint for Employment Discrimination

Additional Information:

I never received any kind of raise or pay adjustment for over 2 plus years until 1 got AFSCME
involved with a meeting regarding this subject with the HR Department and finally I got a 3%
raised a week before we meet the HR Department.

CFO Nicolette Bateson pushed former (Manager) Monica Daniels to try and sign me away from
Detroit Water Sewage Department to (GLWA) because no one else had my information and
knowledge regarding my section (Capital Improvement Program), but I found out later after
looking in my personal file that she only wanted to keep me temporary.

Once again | was the only Black Male doing constant physical labor in the title (Office Support
Specialist).
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EEGQC Form 161 (11 16} U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

DISMISSAL AND Notice oF RIGHTS

 

Ta: Corey Thomas From Detroit Field Office
14715 Murthum Ave 477 Michigan Avenue
Warren, Ml 48088 Room B65

Detroit, Ml 48226

 

Cj On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601,7/a)}
EEOC Charge No. EEOC Representative Telephone Na.
Donald R. Lake,
471-2018-00659 Investigator (313) 226-4622

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of emptoyees or is not otherwise covered hy the statutes.
Your charge was not timely filed with EEOC: in other words, you wailed too jong after the date(s) of the alleged

discrimination to file your charge

The EEOC issues the follawing detemnination: Based upon its investigation, the EEOC Is unable te conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adapted the findings of the state or local fair employment practices agency thal investigated this charge.

WO BOOOd

Other (orefly state)

- NOTICE OF SUIT RIGHTS -

{See tha additional information attached to this form. J

Title Vi, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of thls notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible. \

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C 1/2 (18

c e Michalte Eisele, (Date/Maited)
\ District Director

Orkpenall pf the Commission

Enclosures{s)

ec;

GREAT LAKES WATER AUTHORITY
clo Cheryl Yapo, Esq.

735 Randolph Street, Suite 1900
Detroit, MI 48226

 
 

Case 2:18-cv-13033-MAG-RSW ECF No.1 filed 09/27e:2Pageiaal Page 11 of 12
Judge: Cox, Sean F.
CIVIL COVER SHEI

MJ: Whalen, R. Steven
The JS 44 civil cover sheet and the information contained herein netther replace nor supplement the filing

Filed: 09-27-2018 At 02:00 PM
provided by local rules of court. This form, approved by the Judiciat Conference of the United States in! CMP THOMAS V. GREAT LAKES WATER AUT
purpose of initiating the civil docket sheet, (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

HORITY (NA)
I. (a) PLAENTEFFS DEFENDANILS
Corey Thomas

Great lakes Water Authority

JS 44 (Rev. 06-17)

 

(b) County of Residence of First Listed Plaintiff = Macomb
EENCHP TIN COS. PLAINTIE ER CASES

County of Residence of First Listed Defendant = Wayne
ON ELS. PLAINTHAD CASES ONLY)

[IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THLE TRACT OF LAND INVOLVED

NOTE

{c) Attorneys (hirm Name, ddddress, and Pedephone Number) Attorneys df Kauiwas

 

 

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Defendant

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IH. CITIZENSHIP OF PRINCIPAL PARTIES ¢rizce an (8 i One Bax for Plamnff

and One Box for Defendant)

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of Business In This State
Citizen of Another State (2) 0D 2 incorporated and Principal Place O; Os
of Business In Another State
Citizen or Subject of a O: O3 Foreign Nation Oe Os

Foreign Country

 

IV. NATURE OF SUIT ¢riace a7" on fone Box Gly

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PERSONAL INJURY
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PROPERTY RIGHTS
820 Copycights
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REAL PROPERTY

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490 Cable/Sat TV
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FEDERAL TAX SUITS
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State Statutes

 

 

 

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VI. CAUSE OF ACTION

VI. REQUESTED IN
COMPLAINT:

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State Court

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Remanded from
Appellate Court

CO) 4 Reinstated or

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Another District

Ol6 Multidistri
Litigation
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tred trom

Cite the U.S. Civil Statute under which you are filing Me wot cite jurisdictional statutes uniess diversity):

£18 Multidistrict
Litigatron -
Direct File

et

 

Brief description of cause:

Employment Discrimination

C3 CHECK IF FHIS [8S A CLASS ACTION
UNDER RULE 23. FRCP.

 

VIII. RELATED CASE(S)

IF ANY

DATI.

C Ne NEeuCHOIN) |

JUDGE

DEMAND § 506,000.00

SIGNATURE OF ATTORNEY OF RECORD

CHECK YES only i
JURY DEMAND:

DOCKET NUMBER

f demanded in complaint:

Oves Bo

 

FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

APPLYING IFP

JUDGE

MAG, JUDGE

 
Case 2:18-cv-13033-MAG-RSW ECF No.1 filed 09/27/18 PagelD.12 Page 12 of 12
PURSUANT TO LOCAL RULE 83.11

1. ls this a case that has been previously dismissed? [] Yes

If yes, give the following information:

 

 

 

Court:
Case No.:
Judge:
2. Other than stated above, are there any pending or previously
discontinued or dismissed companion cases in this or any other [ ] Yes

court, including state court? (Companion cases are matters in which [m] No
it appears substantially similar evidence will be offered or the same
or related parties are present and the cases arise out of the same

transaction or occurrence.)
lf yes, give the following information:

Court:

 

Case No.:

 

Judge:

 

Notes :

 
